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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

  NETWORK-1 TECHNOLOGIES, INC.

                 Plaintiff,
                                            CASE NO. 6:13-cv-072-RWS-KNM
  vs.
                                            JURY TRIAL DEMANDED
  HEWLETT-PACKARD COMPANY AND
  HEWLETT PACKARD ENTERPRISE                FILED UNDER SEAL
  COMPANY

                Defendants.


          DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
        RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW AND
                 MOTION FOR NEW TRIAL ON VALIDITY
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     1          HP-Dkt.1 75 – 11/6/17 trial transcript (excerpts)
     2          HP-Dkt. 76 – 11/7/17 p.m. trial transcript (excerpts)
     3          HP-Dkt. 77 – 11/8/17 a.m. trial transcript (excerpts)
     4          HP-Dkt. 80 – 11/9/17 p.m. trial transcript(excerpts)
     5          HP-Dkt. 82 – 11/10/17 a.m. trial transcript (excerpts)
     6          HP-Dkt. 83 – 11/10/17 p.m. trial transcript (excerpts)
     7          HP-Dkt. 84 – 11/13/17 trial transcript (excerpts)
     8          P1 – U.S. Patent No. 6,218,903
     9          P186 - Settlement Agreement and Patent License Agreement – between Network-
                1 & Sony
     10         P187 - Settlement Agreement and Patent License Agreement – between Network-
                1 & ALE
     11         P188 - Settlement Agreement, Patent License Agreement, Stipulation Of
                Dismissal, And Order Dismissing – between Network-1 & Alcatel-Lucent
     12         P253 – Information Disclosure Sheet
     13         DX27 - September 29, 2003 Email from Corey Horowitz to George Conant titled
                Merlot Patents2
     14         DX89 - Fisher System Images
     15         DX119 - U.S. Patent No. 5,345,592 (“Woodmas”)
     16         DX123 - WO 98/54843 (“Fisher International”)
     17         DX124 - WO 98/57248 (“Chang International”)
     18         DX138 - U.S. Patent No. 6,496,105 (“Fisher”)
     19         DX139 - U.S. Patent No. 6,710,704 (“Fisher”)
     20         DX144 - U.S. Patent No. 5,991,885 (“Chang”)
     21         DX157 - U.S. Patent No. 5,994,998 (“Fisher”)
     22         DX314 – Settlement and License Agreement between Network-1 and Cisco
     23         DX315 - Settlement and License Agreement between Network-1 and Transition
                Networks
     24         DX316 - Settlement and License Agreement between Network-1 and Motorola
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     27         DX320 - Settlement and License Agreement between Network-1 and Samsung
     28         DX322 - Settlement and License Agreement between Network-1 and ShoreTel
     29         DX324 - Settlement and License Agreement between Network-1 and Dell
     30         DX325 - Settlement and License Agreement between Network-1 and Polycom
     31         DX500 - Fisher System – Physical Exhibit
     32         DDX5 – Dr. Dean Neikirk’s Demonstratives
     33         Rebuttal Expert Report of Nathaniel Davis on Infringement (excerpts)
     34         Amended Expert Report of Dean Neikirk on Invalidity (excerpts)
     35         DX146 - U.S. Patent No. 5,406,260

 1
  “HP-Dkt.” refers to the docket in Network-1 Technologies, Inc. v. Hewlett-Packard Company and
 Hewlett Packard Enterprise Company, Case No. 6:13-cv-00072.

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           On the first day of trial, Plaintiff’s Chief Executive Officer and sole corporate witness,

 Corey Horowitz, agreed that “there is a risk that the detection scheme [in the ʼ930 Patent2] is an

 obvious solution thereby rendering the patent invalid.” See Ex. 1 at 281:22-282:8; Ex. 13 (DX27).

 Seven days later, following extensive testimony on Plaintiff’s claimed inventions and the vast body

 of prior art, the jury agreed with Mr. Horowitz—the ʼ930 Patent is invalid. See HP-Dkt. No. 69

 [Jury Verdict].

           Faced with this result, Plaintiff now takes a shotgun approach to the jury’s general

 invalidity finding, but it only properly preserved three issues pre-verdict in its Rule 50(a) motion:

 (1) whether the Fisher System was in public use, (2) whether Dr. Fisher’s testimony was

 corroborated, and (3) whether HP3 is estopped from presenting its invalidity case. Ex. 6 at 179:21-

 181:3. Regardless, HP established each element in the prior art, and Plaintiff’s limited objections

 coupled with the record in this case do not warrant disturbing the jury’s verdict.

           To the contrary, the jury’s finding on the question of validity was consistent with

 controlling legal requirements and the weight of the evidence. HP presented testimony and

 physical evidence that the Fisher System was in public use in 1996. Likewise, both physical and

 documentary evidence were presented to corroborate Dr. Fisher’s testimony of the Fisher System.

 And Plaintiff’s estoppel argument ignores binding Federal Circuit authority.           Plaintiff’s main

 assertion seems to be that its prior settlement licenses are entitled to some form of heightened

 evidentiary weight— assuming without supporting testimony that others decided to settle and take

 a license on the ’930 Patent (rather than face the costs and burdens of a trial) because of the Patent’s

 objective validity. This is simply not the law. Indeed, this Court undercut that assumption when

 it first invalidated claim 1 as indefinite and then invalidated claims 21 and 23 as impermissibly


 2
     United States Patent No. 6,218,930 (the “’930 Patent”) [Ex. 8 (P1)].
 3
     Defendants Hewlett-Packard Company and Hewlett Packard Enterprise Company (together “HP”).


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 broad in view of the original claims. See Network-1 Security Solutions, Inc. v. Cisco Systems, Inc.,

 No. 6:08-CV-30-LED, Dkt. No. 251 (E.D. Tex. Feb. 16, 2010); Network-1 Technologies, Inc. v.

 Alcatel-Lucent USA Inc., 6:11-CV-492-RWS-KNM, Dkt. No. 693 (E.D. Tex. Nov. 4, 2016);

 Network-1 Technologies, Inc., 6:11-CV-492-RWS-KNM, Dkt. No. 1035 (E.D. Tex. Oct. 18,

 2017). The claims of the ’930 Patent are not immune from invalidity challenges.

        Plaintiff’s assumption regarding the reasons for the settlement licenses further ignores that




                                     . HP pointed to these provisions throughout the trial and

 explained to the jury that other accused infringers may have settled for reasons completely

 unrelated to validity. Plaintiff’s renewed motion for judgment as a matter of law on validity should

 be denied. As this Court found in denying Plaintiff’s pre-verdict motion: “there’s a legally

 sufficient evidentiary basis on all of these issues for a jury to find in the Defendants’ favor.” See

 Ex. 6 at 184:25-185:1.

        Finally, Plaintiff did not meet its heavy burden to show why a new trial should be granted.

 The jury’s verdict was supported by the great weight of invalidity evidence, including Dr. Fisher’s

 properly admitted testimony. Moreover, although Plaintiff objected to certain arguments during

 closing, it wholly failed to object to its now-complained-of arguments in HP’s closing statement;

 consequently, it is barred from raising any prejudice arguments now. HP’s counsel’s statements

 were accurate, supported by the record, and this Court properly instructed the jury regarding the




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 consideration to give closing statements. Simply put, Plaintiff raises nothing new; as such, its

 motion for new trial should also be denied.

 I.      PLAINTIFF’S RENEWED REQUEST FOR JMOL SHOULD BE DENIED

         A.      Legal Standard: JMOL Must Be Denied If There Is Sufficient Evidence to
                 Support the Theory of Invalidity

         Judgment as a matter of law is only appropriate when “a reasonable jury would not have a

 legally sufficient evidentiary basis to find for the party on that issue.” Fed. R. Civ. P. 50(a). “A

 general jury verdict of invalidity should be upheld if there was sufficient evidence to support any

 of the alternative theories of invalidity.” Cordance Corp. v. Amazon.com, Inc., 658 F.3d 1330,

 1339 (Fed. Cir. 2011).

         The moving party is entitled to judgment as a matter of law, “only if the evidence points

 so strongly and so overwhelmingly in favor of the nonmoving party that no reasonable juror could

 return a contrary verdict.” Int’l Ins. Co. v. RSR Corp., 426 F.3d 281, 296 (5th Cir. 2005); Frazier

 v. Honeywell Int’l, Inc., 518 F. Supp. 2d 831, 835 (E.D. Tex. 2007) (“The jury’s verdict is afforded

 great deference, and a post-judgment motion for judgment as a matter of law should be granted

 only when ‘the facts and inferences point so strongly in favor of the movant that a rational jury

 could not reach a contrary verdict.’” (citations omitted)).

         B.      The Fisher System is Prior Art

         In the 1996 time frame, nearly 3 years before the ʼ930 Patent invention date4, Dr. Fisher

 and his colleagues at 3Com had the idea of attaching an access point from the ceiling of an office

 to provide wireless networking. See Ex. 5 at 123:21-128:14. However, they encountered a

 problem. How were they going to power the remote access device? Id. To solve the problem, Dr.



 4
  Notably, Plaintiff does not challenge that Dr. Fisher’s invention (or even Mr. Chang’s or Mr. Woodmas’s
 inventions) came first and qualify as prior art to the ʼ930 Patent.


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 Fisher and his team came up with a solution of running

 both power and data over the same Ethernet cable to

 the remote access device. Id; Ex. 14 (DX89); Ex. 16

 (DX123); Ex. 18 (DX138); Ex. 19 (DX139); Ex. 21

 (DX157); and Ex. 31 (DX500) (pictured to the right).

 Indeed, Dr. Fisher received three U.S. Patents for this

 Power-over-Ethernet (“PoE”) invention. See Ex. 18 (DX 138), Ex. 19 (139), Ex. 21 (157); Ex. 5.

 at 131:9 (“it was the first Power over Ethernet”). The system Dr. Fisher developed, his patents,

 and the testimony describing his PoE inventions were all presented to and properly considered by

 the jury. Dr. Fisher’s and Dr. Neikirk’s testimony establish the Fisher System was in public use

 and the physical devices and documentary evidence corroborate that use. See Ex. 5 at 138:13-17;

 Ex. 6 at 22:7-20. As such, the Court should deny Plaintiff’s motion.

                  1.     There is Substantial Evidence that the Fisher System was in Public
                         Use.

        HP’s invalidity expert, Dr. Neikirk, unquestionably confirmed that the Fisher System was

 in public use:

                  Q. Dr. Neikirk, was Mr. Fisher’s system, was it in public use?

                  A. Yes, I believe it was.

 Ex. 6 at 22:7-20. Based upon his conversations with Dr. Fisher, his analysis of the Fisher System

 [Ex. 31 (DX500)] and the testimony that Dr. Fisher provided during trial, Dr. Neikirk’s testimony

 delivered substantial evidence to support the jury’s invalidity verdict. Dr. Neikirk’s testimony also

 disproves Plaintiff’s assertion that no witness other than Dr. Fisher “provided any testimony that

 would even suggest … any use of the Fisher system occurred in public.” Mot. at 6; Ex. 6 at 22:7-

 20.



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         In addition, HP presented physical evidence and other testimony supporting the Fisher

 System’s public use. Dr. Fisher demonstrated the Fisher System to the jury—the system bearing

 a motherboard showing 3Com’s 1996 Copyright. Ex. 5 at 129:4-25; 130:6-136:14. He also

 testified that 3Com actually implemented powering an access device using PoE—Dr. Fisher’s

 invention—in 1995 or 1996. Id. at 131:20-132:1. Public use includes “any use of [the claimed]

 invention by a person other than the inventor who is under no limitation, restriction or obligation

 of secrecy to the inventor.” JumpSport, Inc. v. Jumpking, Inc., 191 F. App’x 926, 935 (Fed. Cir.

 2006) (citing Lough v. Brunswick Corp., 86 F.3d 1113, 1119 (Fed. Cir. 1996).5 Dr. Fisher’s

 testimony confirmed the Fisher System was used by others at 3Com and there is no evidence that

 the use was concealed in a veil of privacy. Ex. 5 at 131:20-132:1; 138:13-17.

         Still more, Plaintiff showed the jury four pages of evidence from Dr. Davis’s expert report

 that support public use of a functional Fisher System. During counsel’s cross-examination of Dr.

 Davis, he published to the jury portions of Dr. Davis’s expert report concerning the state of the art

 prior to the ’930 patent. See, e.g., Ex. 4 at 94:13-18; 97:8-9; and 98:25-99-4. The pages of the

 report that were published to the jury provide additional evidence that the Fisher System was in

 public use and not experimental. For example, in reference to Dr. Fisher’s invention, Dr. Davis’s

 expert report—published to the jury—states:




 5
  Plaintiff’s reliance on Clock Spring and Harrington are inapposite. In Clock Spring, the Federal Circuit
 affirmed summary judgment of invalidity based on prior public use, because the patent owner’s public use
 of the claimed inventions fell under the experimental use exception. Clock Spring, L.P. v. Wrapmaster,
 Inc., 560 F.3d 1317, 1322 (Fed. Cir. 2009). Here, there are no facts to support an argument that Dr. Fisher
 simply “experimentally used” the Fisher System in order to perfect his invention. Id. at 1326-27. Similarly,
 in Harrington, the Federal Circuit affirmed summary judgment of invalidity in the face of the patent
 owner’s assertion of the experimental use exception. Harrington Mfg. Co. v. Powell Mfg. Co., 815 F.2d
 1478, 1481 (Fed. Cir. 1986). There, the Federal Circuit found no evidence in the record to negate the public
 use of the invention or any promise of secrecy. The same holds true here.


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                                                                      See Ex. 33 [N. Davis Rebuttal

 Report] at 43 (emphasis added). Further, the jury was shown a portion of the report that stated:




 Id. Dr. Davis’s expert opinions further confirm that the Fisher System was in non-experimental,

 public use.

        Where, as here, “a prima facie case is made of public use, the patent owner must be able

 to point to or must come forward with convincing evidence to counter that showing.” Tone Bros.,

 Inc. v. Sysco Corp., 28 F.3d 1192, 1199 (Fed. Cir. 1994)(quoting TP Labs., Inc. v. Prof’l

 Positioners, Inc., 724 F.2d 965, 971 (Fed. Cir. 1984)). Moreover, whether a public use has

 occurred is a mixed question of law and fact. See, e.g., Netscape Commc’ns Corp. v. Konrad, 295

 F.3d 1315, 1320 (Fed. Cir. 2002). The inquiry is characterized as:

                a mixed question of law and fact given to a jury without a special
                verdict form delineating the questions of fact, the jury’s conclusion
                must be upheld “unless the jury was not presented with substantial
                evidence to support any set of implicit findings sufficient under the
                law to arrive at its conclusion.”

 Barry v. Medtronic, Inc., 230 F. Supp. 3d 630, 654 (E.D. Tex. 2017) (citing Eli Lilly & Co. v.

 Aradigm Corp., 376 F.3d 1352, 1362–63 (Fed. Cir. 2004)). Here, Plaintiff did not rebut HP’s

 prima facie case, and Plaintiff’s failure to adduce rebuttal evidence once the burden shifted is

 dispositive.

        Plaintiff’s attempt to limit the Fisher System to a product that was merely tested

 confidentially and concealed from the public ignores the evidence presented to the jury and

 completely distorts testimony. Plaintiff’s only “testing” evidence is Dr. Fisher’s testimony

 demonstrating the Fisher System during his deposition in 2017 and discussing whether to “test” it



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 during the deposition to see if the system still worked 20 plus years after it was manufactured. Ex.

 5 at 130:1-131:19. But that testimony has no bearing on whether Dr. Fisher’s system was in public

 use. And Plaintiff’s additional representations are also suspect. For example, Plaintiff presented

 no evidence that the Fisher System was concealed from the public. Indeed, Plaintiff’s counsel’s

 attempt to elicit concealment testimony was rejected by Dr. Fisher when he testified that he was

 not aware of any evidence showing that the system was anything other than public. Ex. 5 at

 138:13-17.

        Because Plaintiff did not counter the clear and convincing evidence presented to the jury

 through Dr. Fisher testimony, the Fisher Patents, the actual Fisher System, Dr. Davis’s expert

 report, and Dr. Neikirk’s expert testimony, Plaintiff cannot prevail as a matter of law on the

 question of whether the Fisher System was in public use.

                2.      The Fisher System Itself and Dr. Fisher’s Patents Corroborate Dr.
                        Fisher’s Compelling Testimony

        Plaintiff’s argument begs the question: What better evidence exists to corroborate a prior

 art system than the system itself? The Court’s Final Jury Instructions provide the answer:

 “Documentary or other physical evidence that is made contemporaneously with the inventive

 process provide the most reliable proof that the testimony has been corroborated.” Ex. 7 at 67:9-

 11 (emphasis added). Using physical evidence from the Fisher System, Dr. Fisher testified about

 and demonstrated to the jury how the Fisher System operated in 1996. Ex. 31 (DX500); Ex. 5 at

 130:1-131:19, 134:135:23. Following his testimony, the jury was even permitted to inspect the

 wireless access device portion of the Fisher System to see the “All Rights Reserved © 1996” and

 “3Com” on the silkscreen of the Fisher System. Ex. 31 (DX500); Ex. 6 at 22:12-25. “Physical,

 documentary, or circumstantial evidence, or reliable testimony from individuals other than the




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 alleged inventor or an interested party, may corroborate.” Checkpoint Sys., Inc. v. All-Tag Sec.

 S.A., 412 F.3d 1331, 1339 (Fed. Cir. 2005).

        If that were not enough, the relevant portions of the Fisher System were also corroborated

 by three U.S. Patents and an international patent application (the “Fisher Patents”). Ex. 16

 (DX123), Ex. 18 (DX138), Ex. 19 (DX139), and Ex. 21 (DX157).             Using the corroborative

 physical and documentary evidence, Dr. Fisher and Dr. Neikirk provided substantial testimony

 linking the relevant portions of the Fisher System with the Fisher Patents. Ex. 5 at 134:1-135:23,

 Ex. 6 at 23:1-27:21. Indeed, Dr. Fisher was asked: “Can you please explain to the jury how the

 ‘998 patent [one of the Fisher Patents] and the Fisher system disclosed providing Power over

 Ethernet to a remote device?” Ex. 5 at 134:13-15. In response, Dr. Fisher meticulously mapped

 Figure 1 of the ‘998 Patent to the Fisher System. Id. at 134:16-22.




        Following Dr. Fisher’s mapping of the physical evidence [Ex. 31 (DX500)] to the

 documentary evidence [Ex. 21 (DX157)], Dr. Neikirk proceeded to further corroborate Dr.

 Fisher’s testimony based on his expert analysis of the Fisher System and Fisher Patents. Dr.

 Neikirk testified that not only does the Fisher System have a 1996 Copyright date, but also that


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 Figure 2 of the ‘998 Patent [Ex. 21 (DX157)] corresponded to portions of the Fisher System that

 Dr. Fisher described to the jury.6 Ex. 6 at 25:17-26:6. Moreover, Dr. Neikirk testified:

                 Q. And has it [Fisher System] been corroborated here that it was in
                 public use?

                 A. Yes. Dr. Fisher told us this morning that they build a system,
                 they plugged it into the network at their offices and used it.

 Ex. 6 at 22:10-14. The demonstratives Dr. Neikirk used to portray the evidence to the jury are

 reproduced below.




 Demonstrative Exhibits from D. Neikirk’s Presentation [Ex. 32 (DDX-5.36 & 5.37)] (emphasis

 added). Undoubtedly, the jury was presented substantially more than “mere testimonial evidence”

 without “other evidence [to] corroborate[] that testimony.” Finnigan Corp. v. Int’l Trade Comm’n,

 180 F.3d 1354, 1366 (Fed. Cir. 1999). Plaintiff’s heavy reliance on portions of Finnigan is

 misplaced, and pays little respect to portions that are directly relevant to this case—where tangible

 devices and documentary evidence were introduced to corroborate the testimony. In Finnigan, the

 defendant asserted anticipation based on public use, but the sole evidence was the inventor’s



 6
   The jury was also properly instructed to reject Dr. Fisher’s testimony if they felt it was not properly
 corroborated. Ex. 7 at 67:12-16 (“If you find that the party has not -- has not corroborated a witness’s oral
 testimony with other evidence, you are not permitted to find that the subject of that oral testimony qualifies
 as prior art or supports a prior date of invention.”)


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 testimony. Id. at 1369-70 (emphasis added). Here, we have not only Dr. Fisher’s testimony, but

 also (1) the actual PoE system that Dr. Fisher developed in 1996 (with a stenciled Copyright date)

 [Ex. 14 (DX089) & Ex. 31 (DX500)], (2) the Fisher Patents that feature Dr. Fisher’s Power-over-

 Ethernet invention [Ex. 16 (DX123); Ex. 18 (DX138); Ex. 19 (DX139); & Ex. 21 (DX157)], and

 (3) Dr. Neikirk’s expert testimony related to the Fisher System and the Fisher Patents. HP

 presented exactly the type of “devices, schematics, or other materials that typically accompany the

 inventive process” in order to corroborate Dr. Fisher’s compelling testimony. See Finnigan, 180

 F.3d at 1366. Dr. Fisher’s testimony is clear and convincing evidence and it is backed up by a

 system and United States patents.

        Unexpectedly, Plaintiff also attacks the Fisher System for missing “elements” related to

 “‘staged powering up’ with a ‘current limit,’ and an ‘authentication process’ that would ‘keep the

 power limited’ during authentication.”       This attack is particularly suspect, because HP’s

 obviousness combination did not rely on the Fisher System to prove the questioned “elements”.

 See Ex. 6 at 23:22-24:5 (Dr. Neikirk testifying that the Fisher System discloses (1) data node, (2)

 access device, (3) data signaling pair, and (4) main power source); Ex. 32 (DDX-5.11). Instead,

 HP relied on, and the evidence demonstrated, that the “staged powering up,” “detection,” and

 “authentication,” elements in the ʼ930 Patent were disclosed by the Chang Patents7 and the

 Woodmas Patent8. Ex. 17 (DX124), Ex. 20 (DX144), Ex. 15 (DX119); Ex. 6 at 27:24-33:25. Even

 so, Plaintiff’s attack seeks to impose an overly technical corroboration requirement. See Knorr v.

 Pearson, 671 F.2d 1368, 1374 (C.C.P.A. 1982) (“The law does not impose an impossible standard

 of ‘independence’ on corroborative evidence by requiring that every point [necessary to prove



 7
   United States Patent No. 5,991,885 and W/O 98/57248 (the “Chang Patents”) [Ex. 20 (DX144) and Ex.
 17 (DX124)].
 8
   United States Patent No. 5,345,592 (the “Woodmas Patent”) [Ex. 15 (DX119)].


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 invalidity] be corroborated by evidence having a source totally independent of the inventor;

 indeed, such a standard is the antithesis of the rule of reason.”); Kridl v. McCormick, 105 F.3d

 1446, 1451, 41 U.S.P.Q.2d 1686, 1688 (Fed. Cir. 1997) (“An evaluation of all pertinent evidence

 must be made so that a sound determination of the credibility of the inventor’s story may be

 reached.” (citation omitted))..

        HP need not provide specific evidence to corroborate each individual feature of the Fisher

 System. Dr. Fisher’s testimony related to the existence and use of the Fisher System were

 supported by the actual device [Ex. 31 (DX500)] that Dr. Fisher created and the Fisher Patents

 [Ex. 16 (DX123); Ex. 18 (DX138); Ex. 19 (DX139); & Ex. 21 (DX157)] that Dr. Fisher was

 awarded. The Fisher System and the Fisher Patents provide clear and convincing evidence

 supporting Dr. Fisher’s testimony related to his PoE invention.

                3.      HP is Not Estopped from Asserting the Prior Art Combination

        Plaintiff correctly acknowledges that its estoppel argument is foreclosed by the inclusion

 of the Fisher System in the obvious combination considered by the jury. An IPR is limited to

 invalidity grounds “that could be raised under section 102 or 103 and only on the basis of prior art

 consisting of patents or printed publications.” 35 U.S.C. § 311(b). Therefore, a prior art “system”

 cannot be raised during IPR proceedings and, thus, a defendant cannot be estopped from asserting

 the “system” art at trial. See Biscotti Inc. v. Microsoft Corp., No. 2:13-CV-01015-JRGRSP, 2017

 WL 2526231, at *8 (E.D. Tex. May 11, 2017). Plaintiff’s estoppel argument should be rejected

 on that basis alone. However, Plaintiff’s argument fails even if the Court does not consider the

 Fisher System in the prior art analysis.

        Section 315(e) limits a defendant’s ability to assert invalidity grounds in the district court

 when an IPR results in a final written decision. The restriction is narrowly limited to invalidity

 grounds that were raised or reasonably could have been during that IPR. See 35 U.S.C. § 315(e)(2)


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 (“. . . may not assert . . . that the claim is invalid on any ground that the petitioner raised or

 reasonably could have raised during that inter partes review.”) (emphasis added). But an “IPR

 does not begin until it is instituted.” Shaw Indus. Grp., Inc. v. Automated Creel Sys., Inc., 817

 F.3d 1293, 1300 (Fed. Cir. 2016). The grounds a petitioner can present during an IPR are limited

 to those advanced in the petition, and further to those grounds on which the Patent Trial and

 Appeals Board (“P.T.A.B.”) instituted the IPR. Thus, Section 315(e) does not apply to grounds

 that were not presented in any IPR. See HP Inc. v. MPHJ Tech. Invs., LLC, 817 F.3d 1339, 1347

 (Fed. Cir. 2016) (“[T]he noninstituted grounds do not become a part of the IPR. Accordingly, the

 noninstituted grounds were not raised and, as review was denied, could not be raised in the IPR.”);

 Intellectual Ventures I LLC v. Toshiba Corp., No. CV 13-453-SLR, 2016 WL 7341713, at *26-27

 (D. Del. Dec. 19, 2016) (holding that estoppel did not apply to references “never presented to the

 PTAB at all” and noting that “the court cannot divine a reasoned way around the Federal Circuit’s

 interpretation in Shaw”); Koninklijke Philips N.V. v. Wangs Alliance Corp., No. 14-12298-DJC

 (D. Mass. Jan. 2, 2018) (“The Federal Circuit in Shaw held that the phrase “during inter partes

 review” applies only to the period of time after the PTAB has instituted review, and

 notwithstanding Philips’ claims to the contrary, D. 183 at 13, that holding was not limited to

 Section 315(e)(1) nor was it mere dicta.”).

         The Fisher, Chang, and Woodmas Patents were never part of an instituted IPR; thus, they

 could not have been raised during an IPR. See Shaw, 817 F.3d at 1300. The PTAB instituted an

 IPR of the ʼ930 Patent on two grounds (1) anticipation based on Matsuno, and (2) obviousness

 based on De Nicolo and Matsuno. See IPR2013-00071 [Dkt. No.9 811 at Ex. 4], IPR2013-00495

 [Dkt. No. 811 at Ex. 7]. Because an IPR was not instituted based on the Fisher, Chang, or


 9
  “Dkt. No.” refers to the docket in Network-1 Technologies, Inc. v. Alcatel-Lucent USA Inc., 6:11-cv-492-
 RWS-KNM.


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 Woodmas Patents, it follows that no arguments could be made on those grounds during the IPR

 proceeding. As such, even if HP had not asserted the Fisher System, which it did, under the Federal

 Circuit’s precedent of Shaw, HP is not estopped from asserting the combination of the Fisher

 Patents, Chang Patents, and Woodmas Patent.

           C.      The Remainder of Plaintiff’s Motion Includes Grounds Not Preserved Under
                   Rule 50(a)

           “If a party fails to move for judgment as a matter of law under Federal Rule of Civil

 Procedure 50(a) on an issue at the conclusion of all of the evidence, that party waives both its right

 to file a renewed post-verdict Rule 50(b) motion and also its right to challenge the sufficiency of

 the evidence on that issue on appeal.” Flowers v. S. Reg’l Physician Svcs., Inc., 247 F.3d 229,

 238 (5th Cir. 2001). Here, Plaintiff’s Rule 50(a) motion failed to raise the “missing elements”

 arguments that Plaintiff now scrambles to assert. Specifically, Plaintiff only alleged a lack of

 corroboration and public use of the Fisher System, estoppel with respect to the Fisher, Chang,

 and Woodmas Patents combination, and general allegation that HP’s expert admitted validity. Ex.

 6 at 179:21-181:3.10 HP addresses each of these arguments in response. Because Plaintiff failed

 to identify any specific missing elements or address the sufficiency of any prior art other than the

 Fisher System, it cannot do so now. Id.

           A Rule 50(a) motion must put the opposing party on notice of the moving party’s position

 as to the insufficiency of the evidence. See Blackboard, Inc. v. Desire2Learn, Inc., 574 F.3d 1371,

 1379–80 (Fed. Cir. 2009). In its Rule 50(a) motion, Plaintiff never asked the Court to find that

 any specific element was not disclosed by the prior art evidence. Plaintiff’s pre-verdict motion

 certainly failed to provide notice of the particular evidentiary deficiencies now being alleged post-




 10
      Network-1 also addresses HP’s promissory estoppel claim, however, that claim was withdrawn.


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 verdict in Section II (B-E) of Plaintiff’s brief. As such, each of these arguments is waived. The

 Court need not reach them in denying Plaintiff’s motion.

        D.      Substantial Evidence Exists for a Reasonable Jury to Conclude the Patent is
                Obvious

        Notwithstanding Plaintiff’s waiver as to invalidity arguments directed to specific claim

 elements, these arguments also fail on the merits. An obviousness analysis must take into account

 “the background knowledge possessed by a person having ordinary skill in the art,” as well as “the

 inferences and creative steps that a person of ordinary skill in the art would employ.” KSR Intern.

 Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007). HP presented unrebutted evidence that detecting

 remote devices and providing PoE were well known and well within the technical skill of those in

 the art at the time of the invention. Ex. 1 at 281:17-282:8; Ex. 5 at 133:13-17; Ex. 6 at 17:12-24;

 Ex. 13 (DX027). The ʼ930 Patent’s method of detecting and providing power added nothing to

 the art. The jury was entitled to infer that “[t]his is a textbook case of when the asserted claims

 involve a combination of familiar elements according to known methods that does no more than

 yield predictable results.” Agrizap, Inc. v. Woodstream Corp., 520 F.3d 1337, 1344 (Fed. Cir.

 2008); accord KSR, 550 U.S. at 414-16. “Granting patent protection to advances that would occur

 in the ordinary course without real innovation retards progress and may, in the case of patents

 combining previously known elements, deprive prior inventions of their value or utility.” KSR,

 550 U.S. at 419.

                1.      The Obviousness Combination Disclosed “Low-level current”

        Although Plaintiff did not preserve its new “low-level current” theory at trial, HP’s

 obviousness case was based on a collection of prior art that included each element of the asserted

 claims of the ʼ930 Patent. Dr. Neikirk explained the combination in detail. Notably, HP did not

 assert that every element, including “low-level current,” was disclosed by every prior art reference.



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 Instead, and like any obviousness case, some elements were disclosed in certain prior art and some

 elements in other prior art. For “low-level current,” HP provided clear and convincing evidence

 that under Plaintiff’s application of “low-level current,” the Woodmas Patent disclosed “a non-

 data signal current that is sufficient to begin start up of the access device but that is not sufficient

 to sustain start up. See Ex. 15 (DX119); Ex. 6 at 31:7-33:25; 65:4-9. Dr. Neikirk testified as

 follows:

                 Q. -- is there any doubt in your mind that with respect to the
                 Court’s claim construction of low level current and the
                 combination we put before this jury, that the combination does
                 indeed show a low level current?

                 A. No. There’s absolutely no doubt in my mind whatsoever.

 Ex. 6 at 65:4-9 (emphasis added). Plaintiff’s arguments to the contrary ignore the full trial record.

         Following Plaintiff’s attempt at trial to misconstrue Dr. Neikirk’s opinion, he specifically

 testified that applying the Court’s claim construction of “low-level current” to the Woodmas

 Patent, the ʼ930 Patent is obvious:

          Q. By delivering this 15mA current before full operating power is supplied and looking
 for a return voltage representative of the full low level current, both the presence and functionality
 of power delivery unit 76 are checked before full
 power is imposed on cable 30 [Referring to
 Figure 1 in Woodmas]. Do you see that?

         A. I do. That’s –

         Q. And that would be applying Judge
 Schroeder’s claim construction of beginning to
 start up the access device but insufficient to
 sustain start up, as Dr. Knox [Plaintiff’s expert]
 is applying it, right?

         A. Yes, that’s correct.

         Q. Using his analysis and the way he’s applying it, these patents are invalid?

         A. Yes, they are.



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 Ex. 6 at 67:6-20 (emphasis added); Ex. 32 (DDX-5.32). The testimony could not be clearer—the

 Woodmas Patent disclosed “low-level current” using the Court’s claim construction as applied by

 Dr. Knox; therefore, the ʼ930 Patent is invalid. And that was not the only instance of Dr. Neikirk

 applying the Court’s claim construction to find the “low-level current” element disclosed in the

 Woodmas Patent. Dr. Neikirk repeatedly testified that “low-level current,” as construed by the

 Court, was disclosed by the Woodmas Patent. See, e.g., Ex. 6 at 32:22-23 (“applying the Court’s

 construction it’s clearly teaching us a great deal about low level currents”); 33:22-25 (“And I'll go

 ahead and check off low level current, again, pointing out that we’ll see that it’s truly the low level

 current as construed by the Court when we look at the combination.”); 43:2-7 (“Q. Sir, in your

 opinion, does Woodmas disclose or teach a low level current using the Court’s definition . . . A.

 Applying the Court's constructions as . . . -- as the Plaintiff has, then yes, it is present.”).

         Moreover, Dr. Neikirk’s invalidity opinions were properly based on Dr. Knox’s application

 of the Court’s construction of “low-level current.”11 This same red herring was considered and

 rejected during the pre-trial phase of the case. See Dkt. Nos. 808 and 1065. Plaintiff now attempts

 a second bite at its failed Daubert challenge to exclude Dr. Neikirk’s opinions and should likewise

 be rejected. Plaintiff’s argument fails because Dr. Neikirk applied the Court’s claim construction.

         Now, as before, Plaintiff’s argument is contrary to this Court’s findings in Realtime Data.

 In Realtime Data, the expert based his “invalidity opinions on [plaintiff’s] infringement theories.”

 See Realtime Data, LLC v. Actian Corp., No. 6:15-cv-463-RWS-JDL Dkt. No. 491 at 2 (E.D. Tex.

 Apr. 3, 2017). “In other words, [the expert] relie[d] on [plaintiff’s] interpretation of the claims in



 11
   Where, as here, Plaintiff takes a broad view of its patent rights, it is only fair for HP to be able to explain
 to the jury that such a broad interpretation renders the patent invalid. “Because the claims of a patent
 measure the invention at issue, the claims must be interpreted and given the same meaning for purposes of
 both validity and infringement analyses.” Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343,
 1351 (Fed. Cir. 2001).


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 conducting his analysis, despite stating that he does not necessarily agree with those

 interpretations.” Id. Just as Network-1 argues here, the plaintiff in Realtime Data argued the

 invalidity opinions were improper because the expert “performed a claim analysis, not based on

 the Court’s construction (as he was required to do), but expressly based on his ‘interpretation’ of

 [plaintiff’s] infringement theories against Defendants’ products.” Id. at 4. The Court rejected this

 argument and allowed the invalidity opinion. Id. at 7.

        In Realtime Data, this Court determined that if an expert “applied the Court’s claim

 constructions” he “was further entitled to conduct his analyses in reliance on [plaintiff’s]

 infringement contention theories.” Id. at 5. With respect to Dr. Neikirk’s obviousness opinions,

 Plaintiff argues that for “low-level current”, Dr. Neikirk presented improper opinions based on Dr.

 Knox’s application of the phrase, even though Dr. Neikirk disagrees with the application. Contrary

 to this argument, the Court in Realtime Data held that “[s]uch an approach allows [defendant to]

 set forth relevant, alternative invalidity . . . arguments for the jury to consider in the event it

 ultimately finds that [plaintiff’s] interpretation of the claims is correct.” Realtime Data, No. 6:15-

 cv-463-RWS-JDL at 6. And that is exactly what happened here. The jury heard Plaintiff’s

 infringement theory and then Dr. Neikirk’s invalidity opinions, which consistently apply the

 Court’s definition of “low-level current.” Ex. 3 at 66:23-67:7; Ex. 6 at 66:3-67:20. Using that

 application, the jury properly found the asserted claims invalid. It is of no moment whether Dr.

 Neikirk thought the Court’s construction was improper.

        Further, Network-1 has not shown that Dr. Neikirk is “endorsing an opinion he . . .

 considers unreliable.” Id. While Dr. Neikirk disagreed with Plaintiff’s infringement theory for

 several reasons (as the defendant’s expert did in Realtime Data at 6), Plaintiff identified no

 reliability issues in Dr. Neikirk applying Dr. Knox’s interpretation of “low-level current” as part




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 of his invalidity analysis. In a desperate attempt to prove otherwise, Plaintiff turns to statements

 outside of the record, including deposition excerpts and expert reports that were never published

 to the jury, and closing statements. Bard Peripheral Vascular, Inc. v. W.L. Gore & Associates,

 Inc., No. CV-03-0597-PHX-MHM, 2009 WL 886514, at *2 (D. Ariz. 2009) (“[C]onsideration of

 evidence outside the record is improper under [Rule] 50(b) because such motions challenge the

 sufficiency of the evidence based on the record ‘as it existed when the trial was closed.’” (citation

 omitted)).

         HP presented clear and convincing evidence that the Fisher, Chang, Woodmas combination

 discloses the “low-level current” element, and the jury properly considered that substantial

 evidence in finding the ʼ930 patent claims invalid.12 The Court should not disrupt the jury’s

 finding.13

                 2.       The Obviousness Combination Disclosed “Secondary Power Source”

         Once again, Plaintiff failed to preserve its argument regarding “secondary power source.”

 HP nevertheless carried its burden. This Court, addressing Koito and Fresenius, found that a

 defendant “must present some evidence to show a jury that the prior art reference” discloses an

 element of the asserted claim. Cellular Commc’ns Equip., LLC v. Apple Inc., No. 6:14-CV-251,

 2016 WL 6884076, at *4 (E.D. Tex. Aug. 30, 2016). “It is for the jury to decide whether in fact

 what the experts reference is sufficient to render the claims invalid.” Id.

         At trial, HP relied on the Chang Patents for its disclosure of the “secondary power source.”

 Ex. 17 (DX124); Ex. 20 (DX144); Ex. 32 (DX-5.27). Dr. Neikirk analyzed the Chang Patents,



 12
    HP also presented clear and convincing evidence that detection methods were well known in the art at
 the time of the alleged inventions. See, e.g., Ex. 4 at 13:1-17:5; Ex. 1 at 281:22-282:8; Ex. 5 at 133:13-17;
 Ex. 6 at 17:12-24; Ex. 13 (DX27); Ex. 20 (DX144); Ex. 21 (DX157).
 13
    “A general jury verdict of invalidity should be upheld if there was sufficient evidence to support any of
 the alternative theories of invalidity.” Cordance, 658 F.3d at 1339.


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 and his testimony combined with the Chang Patents (summarized by demonstrative exhibits

 supporting Dr. Neikirk’s conclusions), at a minimum, are “some evidence” for the jury to decide

 that the Chang Patents disclosed a “secondary power source.” Ex. 6 at 27:23-31:1. Specifically,

 Dr. Neikirk testified that the Chang Patents teach “the data node and the network interface adapter

 . . . the access device” and how they provide “electrical power from the hub [the data node] to the

 remote adapter, to the access device using the network’s wiring.” Id. at 28:5-16. Dr. Neikirk

 went on to show the jury where the Chang Patents disclose the “secondary power source” [DDX-

 5.27 (below)] and also testified that the Chang Patents disclose the “controlling” element, which

 Plaintiff must, and does, admit. Ex. 6 at 30:12-31:1; Mot. at 17.




        Without question, Dr. Neikirk provided “some evidence” that would allow the trier of fact

 to weigh the evidence regarding whether or not the Chang Patents disclosed a “secondary power

 source.”   Plaintiff’s argument further fails to acknowledge that the “controlling” element in the

 ʼ930 Patent states “controlling power supplied by the secondary power source to said access

 device in response to a preselected condition of said voltage level.” Claim 6 (emphasis added).

 Thus, in order to disclose the “controlling” element the Chang Patents must include the “secondary



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 power source.” And as Plaintiff recognizes, the jury heard extensive testimony from about what

 “secondary power source” means, including the Court’s claim construction. See, e.g., Ex. 2 at 24-

 48. The jury did not receive Dr. Neikirk’s testimony in a vacuum. Drawing all reasonable

 inferences in favor of HP, the non-moving party, the Court should deny Plaintiff’s request to enter

 a judgement of non-obviousness.

                3.      The Obviousness Combination Disclosed “Main Power Source”

        Plaintiff’s argument misapprehends that HP presented an obviousness case and not an

 anticipation case. To find a claim obviousness, the jury was instructed that it needed to find “as

 of the priority date of the patent, there was a reason that would have prompted a person of ordinary

 skill in the field of the invention to combine the known elements in a way the claimed invention

 does. . . .” Ex. 7 at 64:15-19 (emphasis added). No single reference need disclose both (1)

 supplying power to the data node and (2) delivering a low level current to the access device; instead

 the combined references disclose them. For example, the Chang Patents, the Fisher System, and

 the Fisher Patents disclosed a power source supplying power to a data node [Ex. 6 at 23:22-24:5;

 26:15-27:5; 30:10-15], and the Woodmas Patent disclosed delivering a “low-level current” to the

 access device [Ex. 6 at 31:7-33:25; 65:4-9]. When combined, these references, Fisher, Chang and

 Woodmas, disclose a “main power source” in the same way claimed in the ʼ930 Patent. Ex. 6 at

 34:2-36:11; Ex. 32 (DDX-5.40). Dr. Neikirk progressively walked the jury through building a

 combined system using the elements found in the prior art:




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 Ex. 32. And Dr. Neikirk concluded that: “After you’ve combined everything together, all the

 pieces are there, and all the interrelationships are there.” Ex. 6 at 36:10-11.

        Again, drawing all reasonable inferences in favor of HP, the non-moving party, the Court

 should deny Plaintiff’s request to enter a judgement of non-obviousness.

        E.      There is Substantial Evidence for a Reasonable Jury to Find a Motivation to
                Combine the Prior Art References

        There is no “rigid” requirement to prove a motivation to combine, rather the “overall

 inquiry must be expansive and flexible.” InTouch Techs., Inc. v. VGO Commc’ns, Inc., 751 F.3d

 1327, 1347 (Fed. Cir. 2014) (citing KSR, 550 U.S. at 415, 419). “There is flexibility in our

 obviousness jurisprudence because a motivation may be found implicitly in the prior art. We do

 not have a rigid test that requires an actual teaching to combine. . . .” Alza Corp. v. Mylan Labs.,

 Inc., 464 F.3d 1286, 1291 (Fed. Cir. 2006). Nevertheless, Dr. Neikirk provided a specific



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 motivation to combine the Fisher System, Fisher Patents, Chang Patents, and Woodmas Patent—

 each of which address the detection of remote devices—and visually demonstrated to the jury how

 the references could have been combined into an operating system. Ex. 6 at 34:2-36:20; Ex. 32

 (DDX-5.35-40). And he stated:

                Q. (By Ms. Doan) So with respect to wrapping up with respect to
                the prior art that you’ve analyzed in this case, what is your opinion
                after combining and analyzing each of the pieces and the elements
                in each of the claims of the ʼ930 compared to what was known in
                the art at the time?

                A. So it is my opinion that the patent claims are obvious in light of
                the prior art. There’s a motivation to combine the prior art in the
                way that -- that yields the claims of the patent. That, yes, it is
                obvious.

 Ex. 6 at 38:2-10 (emphasis added). “What the prior art teaches, whether a person of ordinary skill

 in the art would have been motivated to combine references, and whether a reference teaches away

 from the claimed invention are questions of fact.” Meiresonne v. Google, Inc., 849 F.3d 1379,

 1382 (Fed. Cir. 2017). “When the jury is supplied with sufficient valid factual information to

 support the verdict it reaches, that is the end of the matter. In such an instance, the jury’s factual

 conclusion may not be set aside by a JMOL order.” McGinley v. Franklin Sports, Inc., 262 F.3d

 1339, 1355 (Fed. Cir. 2001).

        Dr. Neikirk’s combination analysis began with the Fisher System and Patents. In Fisher,

 one of ordinary skill in the art would learn

 how to power a wireless access point using

 an Ethernet cable, later known as PoE.

 See, e.g., Ex. 6 at 34:2-6; Ex. 21 (DX157);

 Ex. 32 (DDX-5 at 18). The Fisher Patents

 themselves, however, did not teach how to



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 detect whether a remote access device was capable or incapable of receiving PoE. Dr. Fisher

 testified that this was one of the real concerns when they began supplying remote power to devices.

 Ex. 5 at 127:7-128:14. Plaintiff conveniently ignored this fact. Dr. Fisher later developed a system

 that included a detection capability; however, it was cumbersome and required an extra piece of

 equipment beyond the “switch.” Ex. 5 at 140:20-25 (“So in the detection system that you invented,

 the first thing that would happen is that some power would be sent to the access point, the access

 point would start up, operate, and send some data back to the security server; is that correct?

                                                       ANSWER: That’s correct, uh-huh.”); Ex. 6

                                                       at 34:10-19. As Dr. Neikirk explained, a

                                                       person of skill in the art would be motivated

                                                       to find a way to perform the “detection”

                                                       operation in the Fisher System without the

                                                       need    for   extra   equipment    (ie.   more

 efficiently). Ex. 6 at 34:16-19. Looking for a way to use the PoE technology disclosed by the

 Fisher Patents and the Fisher System with a “switch” that is able to detect whether a remote device

 is PoE compatible, one of ordinary skill in the art would turn to the teaching in Chang. Ex. 6 at

 35:1-6; Ex. 17 (DX124); Ex. 20 (DX144). As Dr. Neikirk explained to the jury, Chang taught one

 of ordinary skill in the art how to use a single “switch” to determine whether or not a remote device

 was capable or incapable of receiving both power and data from the switch and to provide the

 remote power. Ex. 6 at 27:24-30:4; 35:8-10; Ex. 20 (DX144); Ex. 32 (DDX-5.26). Chang also

 taught using a 10Base-T and 100Base-TX protocol (Ethernet over twisted-pair), which matches

 the protocol discussed in the ʼ930 Patent (“Cable 12 is preferably Category 5 wiring such as

 100BaseX . . .”). Ex. 20 (DX144[Col.4, ln. 50-58; Col.5, ln. 20-25). Next, Dr. Neikirk confirmed




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 that combining the Chang Patents’ Ethernet communications system with the Woodmas Patent’s

 remote detection and powering technique would allow detection and power over a data signaling

 pair without intruding on normal operations. Ex. 6 at 35:3-36:2. This was exactly the goal

 described in the Chang Patents: to “have a network system that recognizes remote devices

 connected to a connector of the network system in real time without intruding on the normal

 operation, provides appropriate electrical power as required without damaging the connected

 remote device, and automatically connects the device to a network hub running an appropriate

 protocol.” Ex. 20 (DX144) (Col. 2, ln. 56-62).14

         Contrary to Plaintiff’s assertions, Chang did not clearly discourage combining power and

 data over the same twisted pair. One portion of Chang that Plaintiff relies on is simply a

 description of a separate and unrelated patent, and the other “merely expresses a general

 preference.” Meiresonne, 849 F.3d at 1382 (“A reference that ‘merely expresses a general

 preference for an alternative invention but does not criticize, discredit, or otherwise discourage

 investigation into’ the claimed invention does not teach away.”) (citing Galderma Labs., L.P. v.

 Tolmar, Inc., 737 F.3d 731, 738 (Fed. Cir. 2013)). Yet again, the jury was properly instructed to

 consider “whether the prior art teaches away from combining elements in the claimed invention”

 and they determined that it did not. Given the substantial evidence presented by Dr. Neikirk and

 Dr. Fisher regarding the interrelation of the teachings of the prior art, the Court should not overturn

 the jury’s finding of invalidity.




 14
    Moreover, Dr. Neikirk performed several tests to confirm that combining the Woodmas Patent’s
 signaling, detection and full operating power features with the Chang Patents’ Ethernet communications
 had no detectable impact on performance. Ex. 34, Neikirk Amended Report at 71-75.


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        F.      Plaintiff’s Reliance on Secondary Considerations of Non-Obviousness Does
                Not Overcome HP’s prima facie Obviousness Evidence

        As Plaintiff aptly acknowledges, the jury saw evidence that “the ten largest players in the

 marketplace” licensed the ʼ930 Patent to settle litigation, and they found it insufficient to overcome

 the obviousness evidence. Mot. at 25; Rothman v. Target Corp., 556 F.3d 1310, 1322 (Fed. Cir.

 2009) (“[T]his court must presume that the jury adequately weighed this factual evidence and

 found it insufficient to support a finding of validity. Indeed, a strong prima facie obviousness

 showing may stand even in the face of considerable evidence of secondary considerations.”). And

 justifiably so. Litigation settlements come about for many reasons. Settlements may indicate, for

 example, a party’s unwillingness to incur litigation risk and costs, rather than acquiescence

 to patent validity. See Spreadsheet Automation Corp. v. Microsoft Corp., 587 F. Supp. 2d 794,

 800 (E.D. Tex. 2007) (“Many considerations other than the value of the improvements patented

 may induce payment in such [settlements]. The avoidance of risk and expense of litigation will

 always be a potential motive for a settlement.” (citations omitted)).




                            Ex. 9 (P186); Ex. 10 (P187); Ex. 11 (P188); Ex. 29 (DX324); Ex. 30

 (DX325); Ex. 23 (DX315); Ex. 24 (DX316); Ex. 25 (DX317); Ex. 26 (DX319); Ex. 27 (DX320);

 and Ex. 28 (DX322).

        Moreover, “secondary considerations of nonobviousness . . . cannot overcome a strong

 prima facie case of obviousness.” Wyers v. Master Lock Co., 616 F.3d 1231, 1246 (Fed. Cir.

 2010); see, e.g., Agrizap, 520 F.3d at 1344 (“Even when we presume the jury found that the



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 objective evidence of nonobviousness favored [Plaintiff], this evidence is insufficient to overcome

 the overwhelming strength of [Defendant]’s prima facie case of obviousness.”); Dystar

 Textilfarben GmbH & Co. v. C.H. Patrick Co., 464 F.3d 1356, 1371 (Fed. Cir. 2006) (“The

 presence of certain secondary considerations of nonobviousness are insufficient as a matter of law

 to overcome our conclusion.”); Newell Cos., Inc. v. Kenney Mfg. Co., 864 F.2d 757, 768 (Fed.

 Cir. 1988) (secondary considerations “do not control the obviousness conclusion”). This is a jury

 issue. The Court properly instructed the jury that it “should consider any evidence” of secondary

 considerations and decide for itself “the relevance and importance” of that evidence. Ex. 7 at

 65:18-67:3. Accordingly, “this court must presume that the jury adequately weighed this factual

 evidence and found it insufficient to support a finding of validity.” Rothman, 556 F.3d at 1322.

 II.    PLAINTIFF’S RULE 59 REQUEST FOR NEW TRIAL SHOULD BE DENIED

        Under Federal Rule of Civil Procedure 59, the court has the discretion to grant a new trial

 “based on its appraisal of the fairness of the trial and the reliability of the jury’s verdict.” See,

 e.g., Smith v. Transworld Drilling Co., 773 F.2d 610, 612-13 (5th Cir. 1985). “But the burden a

 movant must meet is high. ‘A motion for a new trial should not be granted unless the verdict is

 against the great weight of the evidence, not merely against the preponderance of the evidence.’”

 Ameranth, Inc. v. Menusoft Sys. Corp., No. 2:07-CV-271-RSP, 2011 WL 2110384, at *2 (E.D.

 Tex. May 26, 2011) (quoting Dresser-Rand Co. v. Virtual Automation, Inc., 361 F.3d 831, 838

 (5th Cir. 2004)). “New trials should not be granted on evidentiary grounds unless, at a minimum,

 the verdict is against the great weight of the evidence.” Dawson v. Wal-Mart Stores, Inc., 978

 F.2d 205, 208 (5th Cir. 1992).

        A new trial may not be granted on grounds of prejudicial legal error unless the movant

 demonstrates that it creates “substantial and ineradicable doubt whether the jury has been

 properly guided in its deliberations” and, even if erroneous, that it could have “affected the


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 outcome of the case.” z4 Techs., Inc. v. Microsoft Corp., 507 F.3d 1340, 1353 (Fed. Cir. 2007).

 “‘[T]he burden of showing harmful error rests on the party seeking the new trial.’” Sibley v.

 Lemaire, 184 F.3d 481, 487 (5th Cir. 1999) (citation omitted). A request for a new trial under

 Rule 59 should be denied if any basis of invalidity is supported. See Cordance, 658 F.3d at 1339;

 Northpoint Tech., Ltd. v. MDS Am., Inc., 413 F.3d 1301, 1311 (Fed. Cir. 2005) (“Northpoint notes

 that the defendants argued anticipation based on five different prior art references[.] . . . A failure

 of proof with respect to any single item of evidence does not justify a grant of either JMOL or a

 new trial.”). Plaintiff proposes three reasons for its request for new trial; none are availing.

        A.        The Jury’s Verdict Is Supported by the Great Weight of Evidence

        Here, Plaintiff simply echoes the same failed arguments it asserts in its JMOL. For the

 same reasons demonstrated above, Plaintiff fails to carry its heavy burden and certainly fails to

 explain, beyond its conclusory assertions, what it believes the “great weight of the evidence”

 confirms. For example, as established above, a great weight of evidence exists to support the

 jury’s verdict of invalidity based on the prior art disclosed and published before the invention date

 that “combined the known elements in a way the claimed invention does.” Ex. 7 at 64:17-18 (Jury

 Instructions).

        B.        The Fisher System was Properly Admitted

        Plaintiff’s argument that the jury “inadvertently consider[ed] inadmissible evidence”

 should also be rejected. As detailed above, Dr. Fisher’s testimony was corroborated, admissible,

 and not inadvertently considered by the jury.     Using the Fisher System, Dr. Fisher demonstrated

 to the jury the actual Fisher System. Ex. 31 (DX500); Ex. 5 at 130:1-131:19, 134:135:23. The

 relevant portions of the Fisher System were also corroborated by the Fisher Patents. Ex. 16

 (DX123), Ex. 18 (DX138), Ex. 19 (DX139), and Ex. 21 (DX157).                 Using the corroborative

 physical and documentary evidence, Dr. Fisher and Dr. Neikirk provided substantial testimony


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 linking the relevant portions of the Fisher System with the Fisher Patents. Ex. 5 at 134:5-135:23,

 Ex. 6 at 23:1-27:21. “Physical, documentary, or circumstantial evidence, or reliable testimony

 from individuals other than the alleged inventor or an interested party, may corroborate.”

 Checkpoint Sys., Inc. v. All-Tag Sec. SA, 412 F.3d 1331, 1339 (Fed. Cir. 2005). Plaintiff’s

 arguments do not meet the heavy burden required for a new trial.

        C.      Plaintiff’s Late Complaints of Jury Confusion and Improper Closing
                Statements Lack Merit

        Plaintiff failed to object during its now-complained-of portions of HP’s closing statement;

 therefore, is barred from claiming it is entitled to a new trial.    Nissho–Iwai Co. v. Occidental

 Crude Sales, Inc., 848 F.2d 613, 619 (5th Cir.1988) (plaintiff’s failure to object to the impropriety

 of the defendant’s closing argument barred it “‘from urging the improper arguments as grounds

 for a new trial after the jury had returned its verdict.’” (citing Computer Sys. Eng’g, Inc. v. Qantel

 Corp., 740 F.2d 59, 69 (1st Cir. 1984)).

        Moreover, Plaintiff does not contest that the Court instructed the jury as to the proper

 standards for assessing invalidity and the proper consideration to give closing statements. The

 jury was cautioned that the statements of counsel were not evidence and to base their decision on

 evidence from the witness stand and admitted exhibits both before and after the closing statements

 were made. Ex. 1 at 140:20-24; Ex. 7 at 42:12-17.; see Learmonth v. Sears, Roebuck & Co., 631

 F.3d 724, 732-33 (5th Cir. 2011) (district court’s instruction that counsel’s argument did not

 constitute evidence minimized any prejudice). Accordingly, Plaintiff’s alleged “errors” were

 harmless and provide no basis for a new trial. See Liner v. J.B. Talley & Co., Inc., 618 F.2d 327,

 329-30 (5th Cir. 1980) (noting “extreme reluctance” to grant relief on closing arguments in the

 absence of an objection made at trial and finding no error where court gave instructions that

 counsel’s statements were not evidence).



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                   1.      The Cummings Patent was Properly Referenced During Closing in
                           Conjunction with the Host of Prior Art Showing Early Detection
                           Methods.

           The Cummings Patent15 was introduced at trial, without objection, during Dr. Davis’

 testimony related to whether the ʼ930 patent inventors invented the idea of doing detection of

 remote equipment over Ethernet lines. Ex. 4 at 16:3-17:5 Ex. 35 (DX146). Without objection,

 Dr. Davis described that the Cummings Patent disclosed detection “with a low level – a low current

 power signal . . . .” Id. That testimony and evidence were properly included in HP’s closing

 statement, and Plaintiff never objected to their inclusion in closing thereby silencing its current

 complaint. Plaintiff cannot point to any evidence suggesting that HP improperly suggested that

 the Cummings Patent disclosed the “low-level current” of the ʼ930 Patent. Rather, the evidence is

 clear that the Cummings Patent was simply used to demonstrate what Mr. Horowitz admitted

 during trial—that the detection scheme in the ʼ930 Patent might be obvious.

                   2.      Mr. Godici’s Testimony was Properly and Accurately Included in
                           Closing

           Plaintiff’s final complaint regarding closing statements concerning Mr. Godici’s testimony

 should also be rejected. First, Plaintiff did not object. Second, the “amount” of prior art is not

 material to any claim or defense of HP.      This is not a situation like the Court resolved in Edwards,

 where the defendant introduced an “admission” that the jury had never seen or heard about.

 Edwards v. Sears, Roebuck & Co., 512 F.2d 276, 285 (5th Cir. 1975). Third, the jury heard

 substantial evidence about the large number of prior art references that placed the validity of the

 ʼ930 Patent into question. For example, Mr. Godici testified about the Fisher patent being cited to

 the United States Patent and Trademark Office (“PTO”) “amongst many other patents.” Ex. 5 at

 78:1-5. He also testified about the two re-examinations where the PTO questioned the validity of


 15
      United States Patent No. 5,406,260 (the “Cummings Patent”) [Ex. 35, DX146].


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 the ʼ930 Patent based on other prior art references. Ex. 5 at 66:21-24; 70:21-72:15. Mr. Godici

 further testified about the PTO considering prior art references other than the Fisher, Chang,

 Woodmas combination that was presented to the jury. See, e.g., Ex. 5 at 73:22-74:5. Plaintiff

 failed to object to any of this testimony. Moreover, on cross-examination, Plaintiff’s own counsel

 presented Mr. Godici with an Information Disclosure Sheet that listed 26 different patents that

 were presented to the PTO as potential prior art. Ex. 5 at 106:3-18; P253. Counsel’s statements

 were not only truthful, they are supported by Mr. Godici’s trial testimony and the evidence

 presented to the jury. Therefore, Plaintiff is not prejudiced by the statements and a new trial is not

 warranted.

 III.   CONCLUSION

        For the foregoing reasons, HP respectfully requests that the Court deny Plaintiff’s Renewed

 Motion for Judgment as a Matter of Law and Motion for New Trial on Validity.




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                               CERTIFICATE OF SERVICE
         The undersigned certifies all counsel of record who are deemed to have consented to
 electronic service are being served with a copy of this document via the Court’s CM/ECF
 system per Local Rule CV-5(a)(3) on this 2nd day of March, 2018.

                                                   /s/ Jennifer H. Doan
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             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        Pursuant to Local Rule CV-5(a)(7)(B), I certify that the Protective Order in this case
 authorizes the filing of this document under seal.


                                                   /s/ Jennifer H. Doan
                                                   Jennifer H. Doan




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